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 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,               )   CASE NO. 2:12-cr-00266-WBS
                                             )
12                       Plaintiff,          )
                                             )   MOTION TO DISMISS INDICTMENT
13   v.                                      )   WITH RESPECT TO DEFENDANT
                                             )   TAMARA M. BARKER
14   RANDY K. BARKER, and                    )
     TAMARA M. BARKER,                       )
15                                           )
                         Defendants.         )
16                                           )
17
18         The United States, by and through undersigned counsel, hereby
19   moves the Court, under Federal Rule of Criminal Procedure 48(a), to
20   dismiss the indictment with respect to defendant TAMARA M. BARKER for
21   the following reasons:
22         1.   On August 21, 2012, the Butte County Coroner’s Office
23   declared TAMARA M. BARKER to be deceased.
24         2.   The government received a copy of the Coroner’s report in
25   this matter on September 4, 2012.        A redacted copy of that report is
26   attached hereto as Exhibit A.
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 1        3.   Accordingly, the United States moves the Court to dismiss
 2   the indictment against the defendant TAMARA M. BARKER in this matter.
 3
 4   Dated: September 4, 2012                      BENJAMIN B. WAGNER
                                                   United States Attorney
 5
 6                                                 /s/ Matthew G. Morris
                                                   By: MATTHEW G. MORRIS
 7                                                 Assistant U.S. Attorney
 8
 9   IT IS SO ORDERED.
10   DATED: September 10, 2012
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